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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND
                               BALTIMORE DIVISION

ALEXIS VARGAS,                      )
                                    )
      Plaintiff,                    )
                                    )
v.                                  )             Case No. 1:17-cv-02785-GLR
                                    )
EQUIFAX INFORMATION                 )
SERVICES, LLC., et al.              )
                                    )
      Defendants.                   )
____________________________________)

MOTION TO DISMISS DEFENDANT EXPERIAN INFORMATION SOLUTIONS, INC.

       Pursuant to Rule 15(b) of the Federal Rules of Civil Procedure, the Plaintiff, Alexis

Vargas and Defendant Experian Information Solutions, Inc., (“Experian”) jointly move this

Court to dismiss this case against Experian with prejudice with each party bearing its own costs

and attorneys’ fees. Accordingly, the parties requested that the Court enter the Proposed Order

attached hereto as Exhibit 1.

Respectfully submitted,

_/s/ Kristi C. Kelly____________                 _/s/ Daniel D. DeVougas__________
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Counsel for Plaintiff                            Counsel for Experian Information Solutions
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                               CERTIFICATE OF SERVICE

       I hereby certify that on the 20th day of March, 2018, I will electronically file the
foregoing with the Clerk of Court using the CM/ECF system, which will then send a notification
of such filing (NEF) to all counsel of record.



                                           _/s/ Kristi C. Kelly____________
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